

People v Baez (2022 NY Slip Op 05506)





People v Baez


2022 NY Slip Op 05506


Decided on October 04, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 04, 2022

Before: Gische, J.P., Friedman, Scarpulla, Rodriguez, Higgitt, JJ. 


Ind. No. 1613/17 Appeal No. 16311 Case No. 2018-04070 

[*1]The People of the State of New York, Respondent,
vIsaiah Baez, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Amir Khedmati of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Shari R. Michels, J.), rendered June 7, 2018, convicting defendant, upon his plea of guilty, of attempted robbery in the second degree, and sentencing him to a term of one year, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 564 [2019], cert denied 589 US &amp;mdash, 140 S Ct 2634 [2020]), which precludes review of defendant's argument that the mandatory surcharges and fees imposed should be vacated pursuant to CPL 430.35(2-a) (see People v Count C., 206 AD3d 496 [1st Dept 2022]). As an alternative holding, we find no basis to waive defendant's surcharge and fees in the interest of justice (see People v Whitfield, 198 AD3d 446, 447 [1st Dept 2021], lv denied 37 NY3d 1100 [2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 4, 2022








